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                   UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF INDIANA
                         EVANSVILLE DIVISION
  IN RE:                            )
         JAMES LELAND WALTERS JR    ) CASE NO.23-70093–AKM-13
         HEATHER L WALTERS          )
              DEBTOR(S)             )

                    TRUSTEE’S OBJECTION TO COURT CLAIM #019

       Comes now Robert P. Musgrave, Trustee, and having reviewed the claim and other relevant
pleadings and documents in this cause does now OBJECT pursuant to FRBP 3007(a) to the claim
of Deaconess Hospital c/o Med-1 Solutions (“Creditor”), Trustee Claim #003/Court Claim #019
(“Proof”), for the following reason:
           1. The claim of Creditor was listed in the proposed plan and the confirmation
               order to be treated as secured based on a judgment lien, to be paid in full by
               the Trustee at $100.00 per month @ 8.0% APR.
           2. Creditor failed to file a proof of claim prior to the claims bar date of April
               20, 2023. Debtor counsel filed a proof of claim on behalf of Creditor on
               May 2, 2023, which was timely under BR 3007 (d)(4).
           3. On May 26, 2023, Trustee disbursed check no. 529560 to Creditor on the
               Proof in the amount of $139.50. On August 30, 2023, Creditor returned
               Trustee disbursement check no. 529560, noting that they were no longer
               servicing the account reflected in the Proof. Creditor further noted that the
               claim had been returned to the original creditor, Deaconess Hospital.
           4. As the Creditor listed on the Proof will not accept the funds and the actual
               creditor has not filed a proof nor otherwise attempted to collect on the
               underlying claim, the present claim should be disallowed.


       WHEREFORE, the Trustee prays the Court disallow the claim in its entirety, and for all
other relief deemed appropriate in the premises.
                                              Notice
       You are hereby notified that you have thirty (30) days from the date below to file a response
to the Trustee’s Objection to Claim above. In accordance with Local Rule S.D. Ind. B 9013-1,
such response should be in writing and filed with the office of the clerk at Winfield K. Denton
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  Federal Building, 101 NW ML King Jr. Blvd, Suite 352, Evansville, IN 47708, with a copy to the
  Trustee at the address below. If no response is timely filed, then the Court may enter an order
  sustaining the objection to claim(s) without further notice.

                                                  Respectfully Submitted,


                                                  /s/Robert P. Musgrave
January 23, 2024                                  Robert P. Musgrave
                                                  Chapter 13 Trustee
                                                  P.O. Box 972
                                                  Evansville, IN 47706-0972
                                                  Telephone: (812) 424-3029
                                                  Fax: (812) 433-3464
                                                  Email address: trusteegeneral@chap13evv.com
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing pleading was served upon the
following parties, either personally, electronically or by first-class mail January 23, 2024:

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